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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                                Miami Division

  UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
             v.
  DELANEY EQUITY GROUP LLC                                             Case Number: 18-20336-CR-ALTONAGA
                                                                       USM Number:

                                                                       Counsel For Defendant: Ryan Dwight O’Quinn, Esq. and
                                                                       Elan Abraham Gershini, Esq.
                                                                       Counsel For The United States: Jerrob Duffy, AUSA
                                                                       Court Reporter: Stephanie McCarn
The defendant pleaded guilty to count 1 of the Information.
The defendant is adjudicated guilty of this offense:
                                                                                                       OFFENSE
  TITLE & SECTION                                           NATURE OF OFFENSE                                            COUNT
                                                                                                        ENDED
         18 USC §371                    Conspiracy to Unlawfully Sell Unregistered Securities          June 2013               1
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
of material changes in economic circumstances.




                                                                     Date of Imposition of Sentence: July 26, 2018



                                                                     ____________________________________________
                                                                     CECILIA M. ALTONAGA
                                                                     UNITED STATES DISTRICT JUDGE


                                                                     Date: July 27, 2018
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DEFENDANT: DELANEY EQUITY GROUP LLC
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                                                            PROBATION
The defendant is hereby sentenced to probation for a term of two (2) years.
The defendant shall not commit another federal, state or local crime.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.
The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
The defendant shall cooperate in the collection of DNA as directed by the probation officer.
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
    1. The defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
       days of each month;
    3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4. The defendant shall support his or her dependents and meet other family responsibilities;
    5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
    6. The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
    10.The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
       any contraband observed in plain view of the probation officer;
    11.The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
    12.The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
    13.As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
       criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: DELANEY EQUITY GROUP LLC
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                                              SPECIAL CONDITIONS OF SUPERVISION

Disclosure of Business/Financial Records: Delaney Equity Group LLC shall make full and complete
disclosure of its business finances/financial records to the U.S. Probation Officer. Delaney Equity Group LLC
shall submit to an audit of its business financial records as requested by the U.S. Probation Officer.

Permissible Search: Delaney Equity Group LLC shall submit to a search and/or inspection of any of its properties
and places of business conducted at a reasonable time and in a reasonable manner by the U.S. Probation Officer,
and shall permit the U.S. Probation Officer to accompany any law enforcement or regulatory official during any
enforcement or inspection of the Delaney’s properties or places of business.

Required Notification – Financial: Delaney Equity Group LLC shall be required to notify the U.S. Probation
Officer immediately upon learning of any material adverse change in its business or financial condition or
prospects, the commencement of any bankruptcy proceeding or any major civil litigation in excess of $25,000.

No New Debt Restriction: Delaney Equity Group LLC shall not apply for, solicit or incur any further debt,
including but not limited to loans or lines of credit, either as a principal, cosigner, or guarantor, directly or through
any related entity or organization, without first obtaining permission from the Court.

Required Compliance Program: Delaney Equity Group LLC shall establish and maintain an effective
compliance program which shall comply with all federal rules and regulations pertaining to Conspiracy to
Unlawfully Sell Unregistered Securities and shall employ an appropriately qualified Compliance Officer, subject to
the approval of the Court. This Compliance Officer shall be a senior level management or supervisory level
officer. The entire compliance program shall remain under the supervision of the Court for the duration of the term
of probation.

Required Notification – Breach of Compliance: Delaney Equity Group LLC shall inform the U.S. Probation
Officer of any breach of compliance involving Delaney Equity Group LLC. A description of the nature, date and
time of the breach of compliance shall be provided to the U.S. Probation Officer with three days of the breach.

Independent Consultant/Auditor: Within 90 days, Delaney Equity Group LLC shall engage the services of an
outside, independent consultant/auditor, subject to the approval of the Court. This independent auditor will audit
each aspect of Delaney’s internal controls as to compliance with applicable rules and regulations, to the extent
necessary. Subsequent to this first audit, any additional audits shall be performed at the discretion of the U.S.
Probation Officer. All audit reports prepared shall be submitted to the U.S. Probation Officer. The corporate
representative shall submit his or her report, if any, to the U.S. Probation Officer, describing all steps taken to
address any issues in the independent auditor’s report, along with the original independent auditor’s report within
30 days after it is provided.

Required Records Retention: In addition to the record retention requirements set forth in the applicable portions
of the Code of Federal Regulations, Delaney Equity Group LLC shall keep the records required to be retained
pursuant to regulatory provisions for the period specified in the applicable regulation for a period of five years
whichever is longer.
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Corporate Compliance: Delaney Equity Group LLC shall not, through a business transaction of any type,
including but not limited to, a change of name, business reorganization, sale or purchase of assets, divestiture of
assets, or any similar action, seek to avoid the obligations and conditions set forth in the plea agreement. The plea
agreement, together with all of the obligations and terms thereof, shall inure to the benefit of and bind assignees,
successor-in-interest, or transferees of Delaney.
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                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                      Assessment       Fine            Restitution
            TOTALS                                     $400.00     $360,000.00*             0
If the defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.
*The Court notes that pursuant to a separate Non-Prosecution Agreement with the U.S. Attorney’s Office, David
Delaney has, individually, made a $50,000 payment. The Court credits this amount to the corporate fine imposed
in this case pursuant to U.S.S.G § 8C3.4, and thus the remaining fine amount is $310,000.
**Assessment due immediately unless otherwise ordered by the Court.
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                                                            SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A. Lump sum payment of $400.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
U.S. Attorney's Office are responsible for the enforcement of this order.
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.
CASE NUMBER
                                                                                           JOINT AND SEVERAL
DEFENDANT AND CO-DEFENDANT NAMES                                         TOTAL AMOUNT
                                                                                           AMOUNT
(INCLUDING DEFENDANT NUMBER)
The Government shall file a preliminary order of forfeiture within 3 days.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
